     Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 1 of 22 PageID #:1102




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JESSICA KIRINCICH,

        Plaintiff,                                    Case No. 15-cv-02131

v.                                                    Judge Matthew F. Kennelly

ILLINOIS STATE POLICE,

        Defendant.


        PLAINTIFF’S RESPONSE TO DEFENDANT’S STATEMENT OF
 UNDISPUTED MATERIAL FACTS FOR WHICH THERE ARE NO GENUINE ISSUE

        Pursuant to Local Rule 56.1(a)(3), Plaintiff, Jessica Kirincich, by and through her

undersigned counsel, states as follows as her Response to Defendant’s Statement of Undisputed

Material Facts for Which There Are No Genuine Issue:

A.      Parties and Background

      1.       Plaintiff, Jessica Kirincich, is an Illinois resident who resides in this District.
(Defendant Illinois State Police’s Answer to Complaint and Affirmative Defenses, Docket #10,
¶1)

        Response.     Undisputed.

         2.    Defendant, ISP, is a governmental entity established under the laws of the State of
Illinois. (Defendant Illinois State Police’s Answer to Complaint and Affirmative Defenses,
Docket #10, ¶2)

        Response.     Undisputed.

       3.      ISP operates a Medical Review Board (“MRB”) that reviews, monitors and makes
decisions on the continued duty of ISP Officers/Troopers who have sustained an injury or suffer
from a physical/mental impairment that prevents the officer from performing at full duty.
(Exhibit A, Abbott Dep. pp. 17, 22-25)

        Response.     Disputed. The cited deposition testimony does not establish all of the

specific duties of the Medical Review Board, as asserted above. The cited testimony instead

                                                1
   Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 2 of 22 PageID #:1103




establishes the process by which Abbott learned Board procedures, Abbott’s understanding of

the general review practice of the Board, and Abbott’s understanding of the Board’s policies on

reasonable accommodation and how they were applicable to Plaintiff.


       4.     Lt. Col. Scott Abbott, (“Abbott”) served in the Division of Administration for ISP
from 2012 until his retirement on December 1, 2013 and was a member of the MRB from
January 2013 to November 2013. (Exhibit A, Abbott Dep. pp. 14-16, 37)

       Response.       Undisputed.

       5.      Lt. Col. Todd Kilby, (“Kilby”) served in ISP’s, Division of Operations, Field
Operations Command from December 2013 until his retirement from ISP in December 2014 and
occasionally substituted as a voting member on the MRB in 2013 and 2014. (Ex. B, Kilby Dep.,
pp. 11-16)

       Response.       Undisputed.


        6.     Col. Agnes Kindred-Johnson (“Johnson”) served as the head of ISP’s Division of
Internal Investigations from December 2011 until her retirement in December 2013 and served
on the MRB as a voting member from December 2011 to December 2013. (Ex. C, Kindred-
Johnson Dep. pp. 8-9, 18-19)

       Response.       Disputed. The cited testimony does not establish that Johnson served as

the “head of ISP’s Division of Internal Investigations.” It, instead, establishes that she was a

Colonel in the Division of Internal Investigation.


        7.    Col. Jill Rizzs (“Rizzs”) has served as the head of ISP’s Division of Forensic
Services from July 1, 2013 and substituted as a voting member on the MRB from March 2013
until she became a full voting member on or about July 1, 2013. (Ex. D, Rizzs Dep. pp. 9, 12-
16)
        Response.     Disputed. The cited testimony does not establish that Rizzs served as the

“head of ISP’s Division of Forensic Services.” It, instead, establishes that she was a Colonel of

the Division of Forensic Services. Furthermore, the cited testimony does not establish that Rizzs

was substituted as a voting member on the MRB from March 2013 until she became a full voting

member on or about July 1, 2013.

                                                 2
     Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 3 of 22 PageID #:1104




        8.     Lt. Robert Sgambelluri (“Sgambelluri”) served as ISP’s Chief EEO Officer from
early 2013 until his retirement in 2014. (Ex. E, Sgambelluri Dep. pp. 24, 30)

        Response.      Undisputed.


       9.     Carrie Santos (“Santos”) has served as the Coordinator for the MRB from
approximately 2007 to the present. (Ex. F, Santos Dep. p. 13)

        Response.      Undisputed.


B.      Jurisdiction and Venue

         10.    Jurisdiction in this Court is proper pursuant to 28 U.S.C. §1331. In addition, the
State of Illinois has enacted a statue, 745 ILCS 5/1.5(d), that specifically allows its employees to
bring an action in Federal Court under the Americans with Disabilities Act (“ADA”). (Defendant
Illinois State Police’s Answer to Complaint and Affirmative Defenses, Docket #10, ¶4)

        Response.      Undisputed.


         11.    This Court can exercise personal jurisdiction over ISP and venue is proper in this
District because the acts complained of took place in this District, and at all relevant times ISP
regularly and continuously transacted and was doing business within this District. (Defendant
Illinois State Police’s Answer to Complaint and Affirmative Defenses, Docket #10, ¶5)

        Response.      Undisputed.


C.      Plaintiff’s Diabetes and Treatment

       12.     Plaintiff is a Type-1 diabetic and was diagnosed as such at age 8. (Ex. H, Pl. Dep.
pp. 15-16, Ex. G, Dr. Yohay Dep. p. 11)

        Response.      Undisputed.


     13.     Dr. Ilene Yohay is an endocrinologist and has treated Plaintiff’s diabetes from
December 27, 2000 to the present. (Ex. G, Yohay Dep. p. 11)

        Response.      Undisputed.




                                                 3
     Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 4 of 22 PageID #:1105




       14.    Plaintiff is insulin-dependent and occasionally suffers from hypoglycemia (low
blood sugars) which can cause severely reduced mental/physical abilities and/or loss of
consciousness. (Ex. H, Pl. Dep. p. 16; Ex. G, Dr. Yohay Dep. pp. 10-11)

         Response.    Disputed to the extent the cited testimony and exhibits do not support the

general conclusion that hypoglycemia can cause severely reduced mental/physical abilities.

        15.     Dr. Yohay has diagnosed Plaintiff’s Type-I diabetes as “Uncontrolled” no less
than fifteen (15) times between June 6, 2011 and August 25, 2015. (Ex. G, Dr. Yohay Dep. pp.
51, 59, 65, 67, 72-73, 97, 105, 107-108, 110, 118, 123-124, 129, 134 and Exhibits 20, 23-25, 27-
28, 39, 42-44, 50, 56-57, 61, 63 thereto)

         Response.    Disputed.     The cited testimony and exhibits do not establish that Dr.

Yohay has diagnosed Plaintiff’s Type-I diabetes “as ‘Uncontrolled’ no less than fifteen (15)

times between June 6, 2011 and August 25, 2015.” Much of the cited testimony and exhibits do

not establish diagnoses of “uncontrolled” Type-I diabetes at all.


      16.     Dr. Yohay testified that Plaintiff may have had a history of hypoglycemic
unawareness; meaning she was sometimes unable to realize the symptoms of her blood sugars
becoming too low. (Ex. G, Dr. Yohay Dep. pp. 137-138, Exhibit #63 thereto)

         Response.    Disputed. The cited testimony and exhibit does not establish that Plaintiff

“may” have had a history of hypoglycemic unawareness. Instead, Dr. Yohay testified that “[a]ll

diabetics are at risk for hypoglycemic awareness.” (Ex. G. Dr. Yohay Dep. pp. 137-138).

Exhibit 63 does not mention Plaintiff’s “history of hypoglycemic unawareness.” (Exhibit 63).

D.       Plaintiff’s Employment with ISP

         17.   Plaintiff joined the ISP Training Academy on August 21, 2011. (Ex. H, Pl. Dep.
p. 25)

         Response.    Undisputed.




                                                 4
   Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 5 of 22 PageID #:1106




        18.     On April 20, 2011, Dr. Yohay represented to the ISP Training Academy that
Plaintiff’s diabetes would not result in any restrictions to Plaintiff and that Plaintiff’s diabetes
was “well-controlled.” (Ex. G, Dr. Yohay Dep. pp. 49-50, Ex. 19 thereto)

       Response.       Undisputed.

       19.    Dr. Yohay was and is unaware of the training that Plaintiff participated in at the
ISP Police Academy. (Ex. G, Dr. Yohay Dep. pp. 49-50, 58-59, 142)

       Response.       Disputed in part. The cited testimony does not establish that Dr. Yohay is

currently unaware of Plaintiff’s training at the ISP Police Academy.


       20.     Plaintiff graduated from the ISP Academy in February 2012. (Ex. H, Pl. Dep. p.
35)
       Response.       Undisputed.


       21.    In February 2012, Plaintiff began her employment with ISP as a Trooper and was
assigned to ISP District 2, which includes DuPage County, Illinois, Lake County, Illinois,
DeKalb County, Illinois, McHenry County, Illinois and part of Cook County, Illinois. (Ex. H, Pl.
Dep. p. 35)

       Response.       Undisputed.


        22.   Plaintiff began her employment as a Trooper in the Field Training program for 14
weeks during which she rotated between the morning (6:00 a.m. to 4:00 p.m.), afternoon (2:00
p.m. to midnight) and midnight shifts (10:00 p.m. to 8:00 a.m.). (Ex. H, Pl. Dep. pp. 40-42)

       Response.       Disputed to the extent the cited testimony does not establish the time

frame for the afternoon shift.

      23.     Plaintiff was permanently assigned to the midnight shift sometime after May 2012
and worked the midnight shift as a Trooper until February 28, 2013. (Ex. H, Pl. Dep. p. 43)

       Response.       Undisputed.




                                                 5
   Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 6 of 22 PageID #:1107




        24.    Plaintiff was required to perform overtime detail outside of her normal shift
assignment when District 2 was short a Trooper on a particular shift, for federal hirebacks (seat
belt detail, alcohol detail, etc.), roadside safety checks, traffic accidents and criminal
investigations. (Ex. H. Pl. Dep. pp 44-45; 246-251, Ex. 31 thereto)

       Response.       Disputed in part. The cited testimony does not establish that Plaintiff was

required to perform overtime detail for traffic accidents and criminal investigations.

        25.   Plaintiff was also required to be available 24-hours a day 7-days a week for
emergency call-ups for state emergencies such as natural disasters, severe weather, prison riots,
manhunts or civil unrest. (Ex. H, Pl. Dep. pp. 246-251, Ex.31 thereto, Ex, B, Kilby Dep. pp. 59-
63, Ex. A, Abbott Dep. pp. 45-47, Ex. C, Kindred-Johnson Dep. pp. 70-71)

       Response.       Disputed in part. The cited testimony does not establish that Plaintiff was

needed for prison riots, manhunts or civil unrest.

        26.     Plaintiff carried a handgun (Glock .22) and drove an ISP patrol car as part of her
job duties as a Trooper. (Ex. H, Pl. Dep. pp. 49-50, 246-251, Ex. 31 thereto)

       Response.       Disputed to the extent that the cited testimony and exhibits only establish

that Plaintiff had the ability to operate and maintain assigned police vehicles and equipment.


         27. Plaintiff became a member of Fraternal Order of Police, Lodge 41 after she began
her employment as a Trooper and the terms and conditions of her employment were subject to a
collective bargaining agreement, RC-164. (Ex. H, Pl. Dep. pp. 50, 238-240, Ex. 29 thereto)

       Response.       Disputed to the extent Defendant offers an improper legal conclusion as to

the terms and conditions of Plaintiff’s employment as a “fact.” Further disputed to the extent the

cited testimony only establishes that Plaintiff did not know what collective bargaining agreement

was active at the time she joined the Fraternal Order of Police.


       28.    RC-164 allowed that shift assignments be awarded by seniority through a shift
bidding system for Troopers in Lodge 41. (Ex. H, Pl. Dep. pp. 237-238, Exs. 28-30 thereto)

       Response.       Undisputed.




                                                 6
     Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 7 of 22 PageID #:1108




        29.     In August 2012, Plaintiff submitted a Shift Bid Preference in which she listed day
shift as her first preference, midnight shift as her second preference and afternoon shift as her
third preference. (Ex. H, Pl. Dep. pp. 239-242, Exs. 29-30 thereto)

        Response.     Undisputed.


      30.      Per the shift bidding system, Plaintiff was awarded her second preference of
midnight shift due to her low seniority. (Ex. H, Pl. Dep. pp. 241-245, Exs. 29-30 thereto)

        Response.     Disputed. None of the cited testimony establishes the reason Plaintiff was

awarded her second preference of midnight shift.



E.      Plaintiff’s December 28, 2012 Hypoglycemic Episode

        31.     Plaintiff’s mother called the Lisle Fire Department on December 28, 2012
because Plaintiff had “said something funny” during a phone call with Plaintiff’s mother. (Ex.
H, Pl. Dep. p. 55)

        Response.     Disputed. The cited testimony does not include the quoted language.


        32.    On December 28, 2012, ISP District 2 dispatch received a call from ISP Trooper
Jennifer Kirincich, Plaintiff’s sister, informing them that Plaintiff’s mother had called Jennifer
Kirincich and let her know that she suspected that Plaintiff was having a hypoglycemic reaction
based on the sound of Plaintiff’s voice on the telephone. (Ex. F, Santos Dep. pp. 35-38, Group
Ex. 1 thereto Bates Nos. ISP004175, ISP004176, ISP006598, ISP006599)

        Response.     Disputed in part. Neither the cited testimony nor Group Exhibit 1, Bates

No. ISP006599 establishes any of the facts asserted above and instead establishes Brian Windle’s

opinion of Plaintiff, as well as the Medical Review Board’s recommendations for Plaintiff’s

Independent Medical Evaluation.




                                                7
   Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 8 of 22 PageID #:1109




       33.     Following Trooper Jennifer Kirincich’s call to ISP District 2, ISP District 2
contacted the Lisle Fire Department which responded to Plaintiffs home. (Ex. F, Santos Dep. pp.
35-38, Group Ex. 1 thereto Bates Nos. ISP004165 and ISP004175, Ex. J, Santos Affidavit and
Group Ex. 1 attached thereto, Bates No. ISP004165)

       Response.          Disputed in part.   Santos’ cited testimony does not establish any of the

facts asserted above and instead establishes Santos’ familiarity with Medical Review Board

Exhibits.


       34.     On December 28, 2012, the Lisle Fire Department picked the lock at Plaintiff’s
residence to gain access. (Ex. H, Pl. Dep. p. 54)

       Response.          Disputed. In the cited testimony, Plaintiff establishes only that “someone,”

and not necessarily the Lisle Fire Department, picked the lock at her residence to gain access.

(Ex. H, Pl. Dep. p. 54)


       35.     On December 28, 2012, the Lisle Fire Department found Plaintiff semi-conscious,
woke her, talked with her, tested her blood sugar, and determined that she was hypoglycemic.
(Ex. H, Pl. Dep. p. 54; Ex. F, Santos Dep. pp. 35-38, Group Ex. 1 thereto Bates Nos. ISP004175-
ISP004176, ISP006598, ISP006599, Ex. J, Santos Affidavit and Group Ex. 1 attached thereto,
Bates No. ISP004165)

       Response.          Disputed. Plaintiff’s cited testimony does not establish any of the facts

asserted above apart from that fact that she was woken and her blood sugar was tested. Further,

Santos’ cited testimony does not establish any of the facts asserted above, but instead establishes

Santos’ familiarity with the above-referenced exhibits. The cited document only references

“minor treatment.”


        36.    On December 28, 2012, the Lisle Fire Department treated Plaintiff and she
became responsive and was not transported to the hospital. (Ex. F, Santos Dep. pp. 35-38, Group
Ex. 1 thereto Bates Nos. ISP004175, ISP004176, ISP006598-ISP006599)

       Response.          Undisputed.




                                                   8
     Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 9 of 22 PageID #:1110




        37.     On December 28, 2012, ISP Troopers Michael Young and Lt. Michael Kraft went
to Plaintiff’s residence to check on her wellbeing after she had been treated by the Lisle Fire
Department. (Ex. H, Pl. Dep. pp. 55-58; Ex. F, Santos Dep. pp. 35-38, Group Ex. 1 thereto Bates
Nos. ISP004175, ISP004176, ISP006598-ISP006599)

         Response.         Disputed to the extent that, in the cited testimony, Santos does not

establish any of the facts asserted above. Further disputed to the extent that Group Ex. 1 Bates

Nos. ISP004175, ISP004176, ISP006598-ISP006599 do not establish any of the facts asserted

above.


        38.    On January 14, 2013, Dr. Yohay’s office received a call from a friend of
Plaintiff’s who reported to Dr. Yohay that Plaintiff had gone to the emergency room because of
low blood sugar. (Ex. G, Dr. Yohay Dep. p. 70-72, Ex. 26 thereto)

         Response.         Undisputed.


F.       Plaintiff’s February 28, 2013 Automobile Accident Caused by Hypoglycemia1

        39.     On February 28, 2013, Plaintiff became hypoglycemic while driving an ISP patrol
car towards the end of her shift. Unaware that she was suffering from low blood sugar, Plaintiff
drove the ISP patrol car erratically for several miles, ran a red light, drove over the dotted center
line (dividing the lanes in her direction of travel) no less than 11 times, drove over the solid-
yellow center line, twice struck a civilian car in the rear and while traveling at a high rate of
speed, eventually struck several cars stopped at a red-light. First responders from Wheaton, Carol
Stream, DuPage County, and the ISP rushed to the scene, fire fighters were forced to cut the roof
off of Plaintiff’s patrol car to extricate her, and she was taken to a hospital by ambulance. Four
other vehicles were seriously damaged in the crash. (Ex. H, Pl. Dep., pp. 78-84, Ex. 1 thereto,
Ex. I, February 28, 2013 Dashcam Video from Plaintiff’s patrol car and February 28, 2013
Dashcam Video from the Carol Stream patrol car driven by Officer Donnae Pope; Ex. J, Santos
Affidavit Group Ex. 1 attached thereto, Bates Nos. ISP008040-ISP008045).

         Response.         Disputed to the extent that none of the cited testimony establishes that on

February 28, 2012, Plaintiff became hypoglycemic while driving in ISP patrol car toward the end

of her shift, that Plaintiff was unaware that she was suffering from low blood sugar, or any of the

other cited facts of the accident or events that preceded it.

1
  Plaintiff objects to each of Defendant’s headings as an improper attempt to editorialize and color the factual
allegations that follow. Plaintiff contests the factual implications in each of those headings and further notes that
they are without citation to any record evidence and must be disregarded. See LR 56.1(a).

                                                           9
     Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 10 of 22 PageID #:1111




       40.    Plaintiff has no memory of the February 28, 2013 accident between the time she
drove the patrol car away from a gas station at North Avenue and Swift Road and when she
spoke with paramedics at the scene of the third automobile accident. (Ex. H, Pl. Dep. pp. 80-82,
Ex.1 thereto)

         Response.     Disputed to the extent that, neither the cited testimony, nor the cited

exhibit establishes that there was a third accident (or a second accident, for that matter).


       41.   Following the February 28, 2013 automobile accident, Plaintiff was transported to
Central DuPage Hospital, treated and released. (Ex. H, Pl. Dep. pp. 83-84)

         Response.     Undisputed.


G.       Plaintiff’s Case Referred to ISP Medical Review Board

        42.      Based on the December 28, 2012 hypoglycemic incident at Plaintiff’s home and
the February 28, 2013 motor vehicle accident resulting from Plaintiff’s hypoglycemic
unawareness, ISP referred Plaintiff to its Medical Review Board (“MRB”) for evaluation of
Plaintiff’s fitness for duty as a Trooper. (Ex. F, Santos Dep. pp.22-24; Group Ex. 1 thereto Bates
No. ISP 004194)

         Response.     Disputed to the extent the cited testimony and exhibit do not establish that

ISP referred Plaintiff to its MRB for evaluation of Plaintiff’s fitness for duty or any

“hypoglycemic unawareness.”


       43.    On March 11, 2013, Abbott sent Plaintiff a letter informing her that her case had
been referred to the MRB. (Ex. F, Santos Dep. pp. 34-35, Group Ex. 1 thereto, Bates No.
ISP004167)

         Response.     Disputed to the extent that the cited testimony does not establish that

Abbott sent the letter to Plaintiff on March 11, 2013. The testimony instead only establishes

Santos’ recognition of and familiarity with the letter. (Ex. F, Santos Dep. pp. 34-35, Group Ex. 1

thereto, Bates No. ISP004167)




                                                 10
  Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 11 of 22 PageID #:1112




       44.    On or before March 20, 2013, Santos prepared a case history to give to the
members of the MRB that provided the MRB with the history and background of Plaintiff’s
December 28, 2012 hypoglycemic incident at Plaintiff’s home and the February 28, 2013 motor
vehicle accidents resulting from Plaintiff’s hypoglycemic unawareness. (Ex. F, Santos Dep. pp.
35-36, Group Ex. 1 thereto, Bates No. ISP004175)

       Response.       Disputed to the extent neither the cited testimony nor exhibit refers to any

“hypoglycemic unawareness.”


        45.      On March 20, 2013, Plaintiff appeared before the MRB, the MRB listened to
Plaintiff’s testimony and watched the dashcam videos of the February 28, 2013 crash involving
Plaintiff’s ISP patrol car. (Ex. F, Santos Dep. pp. 24-34; Group Ex. 1 thereto, Bates No.
ISP004195, Ex. C, Kindred-Johnson Dep. p. 79, Ex. A, Abbott Dep. p. 26)

       Response.       Disputed to the extent that Santos’ cited testimony does not establish that

MRB watched the dashcam videos of the February 28, 2013 crash. Further, Kindred-Johnson’s

cited testimony does not establish that Plaintiff appeared before the MRB on March 20, 2013,

nor does it establish that the MRB listened to Plaintiff’s testimony.


       46.     Following the March 20, 2013 MRB meeting with Plaintiff, the MRB
recommended that Plaintiff be referred for an Independent Medical Evaluation (“IME”) to assess
her diabetes in relation to her abilities to perform the essential functions of a Trooper. (Ex. F,
Santos Dep. pp. 36-37, Group Ex. 1 thereto, Bates No. ISP 004176 and Bates No. ISP 006598)

       Response.       Undisputed.

       47.   The MRB consulted with its Chief Medical Officer, Dr. Yambert, who
recommended that Plaintiff be sent to Dr. Shajauddin Valika, (“Dr. Valika”) an endocrinologist,
for her IME. (Ex. F, Santos Dep. 38-45, Group Ex. 1 thereto, Bates Nos. ISP001808, ISP
004168, ISP004197-004198)

       Response.       Disputed in part. None of Santos’ cited testimony establishes that Dr.

Yambert recommended that Plaintiff be sent to Dr. Valika for her IME. Further, none of the

cited exhibits establish that Dr. Yambert recommended that Plaintiff be sent to Dr. Valika for her

IME. Further, Santos testified that it was the MRB’s decision, not Dr. Yambert, for Plaintiff to

be referred to an endocrinologist.

                                                 11
  Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 12 of 22 PageID #:1113




       48.    On April 9, 2011, ISP informed Dr. Valika about Plaintiff’s December 28, 2012
hypoglycemic episode and the February 28, 2013 auto accidents caused by Plaintiff’s
hypoglycemia, provided Dr. Valika with the dashcam videos of the February 28, 2013 auto
accidents, and provided Dr. Valika a job description for a Trooper and an ISP Medical
Evaluation Form. (Ex. F, Santos Dep. pp. 44-53, Group Ex. 1 thereto, Bates Nos. ISP001807,
ISP001808, ISP003655, ISP003656, ISP003658, ISP004230, ISP005371)

       Response.       Disputed in part.     Neither the cited testimony nor exhibits refer to

“hypoglycemia” nor the cause of Plaintiff’s auto accident. Further, the cited evidence does not

support the fact that a job description for a Trooper was provided to Dr. Valika.


        49.     ISP asked Dr. Valika to answer the following questions about Plaintiff via his
IME: “Can she physically perform the essential functions of her position based on the attached
job description and task analysis? Is her condition currently controlled? Can it be controlled to
the extent that she does not present a direct threat given her job duties and responsibilities? Is it
safe for her to drive a squad car and carry a weapon? Does she have any restrictions, and if so,
are those restrictions permanent?” (Ex. F, Santos Dep. pp. 46-49, Group Ex. 1 thereto, Bates
Nos. ISP001808)

       Response.       Undisputed to the extent the cited exhibit contains the quoted language.


        50.      On April 11, 2013, Dr. Valika conducted the IME of Plaintiff and in his report
referred Plaintiff back to her regular endocrinologist, Dr. Yohay because Dr. Yohay “knows her
[Plaintiff] for many years and she would be the best to judge regarding changes, whether
[Plaintiff] is safe to drive, etc…. [Diabetes] is a chronic disease and cannot just be corrected in
one day or one visit.” (Ex. F, Santos Dep. p. 61, Group Ex. 1 thereto, Bates Nos. ISP004226-
ISP004229)

       Response.       Undisputed.


        51.   Dr. Valika did not complete the ISP Medical Evaluation Form after the IME with
Plaintiff. (Ex. F, Santos Dep. pp. 62-64, Group Ex. 1 thereto, Bates Nos. ISP004230-
ISP004231)

       Response.       Undisputed.


       52.   On May 6, 2013, ISP requested that Dr. Valika provide an addendum to his April
11, 2013 IME and complete the ISP Medical Evaluation Form. (Ex. F, Santos Dep. pp. 62-64,



                                                 12
  Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 13 of 22 PageID #:1114




Group Ex. 1 thereto, Bates Nos. ISP004232, ISP004638, ISP004639, ISP004692, ISP004693,
ISP004696)

        Response.      Undisputed to the extent that the facsimile memorandum is dated May 6,

2013, but there is no evidence in the cited material as to whether it was sent to Dr. Valika’s

office on that date.


         53.     On May 7, 2013, Dr. Valika sent ISP an addendum to his April 11, 2013 report of
Plaintiff’s IME. In his addendum, Dr. Valika recommended “1. [Plaintiff] needs close and tight
monitoring of her blood sugar, including frequent pump downloads, using the glucose sensor,
etc. 2. [Plaintiff] has an endocrinologist in Olympia Fields that she sees on a regular basis. She
needs to follow up with her urgently. 3. Clearance for driving should be at the discretion of her
treating endocrinologist.” (Ex. F, Santos Dep. p. 76, Group Exhibit 1 thereto, Bates No.
ISP004233)

        Response.      Undisputed.


       54.    On May 29, 2013, the MRB again met to discuss Plaintiff’s fitness for duty and
recommended that, since Dr. Valika would not complete the ISP Medical Evaluation Form nor
provide answers to the previously posed questions regarding Plaintiff’s fitness for duty, ISP
should review Plaintiff’s Police Academy records before moving forward. (Ex. F, Santos Dep.
pp. 79-81, Group Ex. 1 thereto, Bates Nos. ISP006639-ISP006640)

        Response.      Disputed. Neither Santos’ cited testimony nor the cited exhibit pages refer

to a “fitness for duty” evaluation at the May 29, 2013 meeting, and only state that “On May 29,

2013, the Board recommended a review of [Plaintiff’s] medical records from the Academy

before moving forward.”


        55.    On or before June 7, 2013, ISP received a note from a Dr. Mary Connolly that
indicated that Plaintiff’s work status was “Trial of full duty.” (Ex. F, Santos Dep. p. 59, Group
Exhibit 1 thereto, Bates No. ISP004169, Ex. H, Pl. Dep. pp. 107-112, Exhibit 4 thereto)

        Response.      Disputed in part. Neither Santos’ nor Plaintiff’s cited testimony or

Exhibits establish that ISP received the note from Dr. Mary Conolly regarding a “trial.” Instead,

the cited testimony only refers to an email from a Mr. Gleason (with whom Santos was



                                                13
  Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 14 of 22 PageID #:1115




unfamiliar and who has an unknown position with the MRB), who wrote “I have a note from Dr.

Connolly stating that [Plaintiff] may return to full duty as of April 1st, 2013, right?” (Ex. F,

Santos Dep. p. 60).

        56.    On June 19, 2013 the MRB met again to discuss Plaintiff’s fitness for duty as a
Trooper and recommended that Plaintiff be referred to an occupational health assessment unless
ISP’s legal department determined such an evaluation was unnecessary. (Ex. F, Santos Dep. pp.
53-56, Group Ex. 1 thereto, Bates No. 006125)

       Response.      Disputed to the extent the cited testimony and exhibit only refer to a

recommendation for an “occupational evaluation” only.


       57.    On June 21, 2013, the MRB held a special meeting to discuss Plaintiff’s case and
determined that, because Dr. Connolly’s note stated that Plaintiff could return to “Trial of full
duty” and ISP could not allow a trial of full duty, Plaintiff should be referred to the ISP Equal
Employment Opportunity Office to begin the reasonable accommodation process. (Ex. F, Santos
Dep. pp.; 79-83, Group Ex. 1 thereto, Bates No. ISP006596; Ex. C, Kindred-Johnson Dep. pp.
53-70, 86-87; Ex. A, Abbott Dep. pp. 8-10; Ex. B, Kilby Dep. pp. 35-43; Ex. D, Rizzs Dep. pp.
43-50)

       Response.      Disputed. None of the cited testimony supports the “fact” that “ISP could

not allow a trial of full duty,” or that Plaintiff was referred to ISP’s Equal Employment

Opportunity Office.


        58.     On September 19, 2013, ISP sent Plaintiff a letter informing her that she was
unable to perform the essential functions of a sworn officer and that she could not continue her
employment as a Trooper. The September 19, 2013 letter gave Plaintiff the following options:
(1) request a vocational assignment to a non-sworn position as a reasonable accommodation
through the ISP Office of Equal Employment Opportunity while working in a limited duty status,
or (2) resign her employment. (Ex. H, Pl. Dep. pp. 124-126, Ex. 7 thereto)

       Response.      Undisputed as to the fact that Plaintiff received the referenced letter which

is correctly paraphrased above.


        59.    According to Plaintiff, the only difference between a sworn and non-sworn
position at ISP is that employees in sworn positions swear an oath upon graduation from the ISP



                                               14
     Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 15 of 22 PageID #:1116




Police Academy and employees in non-sworn positions do not swear an oath. (Ex. H, Pl. Dep. p.
128)

         Response.         Disputed to the extent that Plaintiff’s testimony made clear that she did not

know all the differences between sworn and unsworn positions.



H.       Plaintiff is offered a Reasonable Accommodation2

       60.     On November 5, 2013, Sgambelluri and Master Sergeant Christy White (“White”)
met with Plaintiff to discuss whether Plaintiff was interested in pursuing a non-sworn position
through the ISP’s accommodation process. (Ex. H, Pl. Dep. pp. 144-145, Ex. 10 thereto)

         Response.         Undisputed.


       61.    Following the November 5, 2013 meeting with Sgambelluri and White, on
November 19, 2013, Plaintiff submitted to ISP’s EEO office a CMS Examining/Employment
Application (“CMS-100”) and a State of Illinois Reasonable Accommodation Request for
Employees form. (Ex. H, Pl. Dep. pp. 131-148, Exhibits 8 and 11 thereto)

         Response.         Undisputed.


        62.    On her November 19, 2013 State of Illinois Reasonable Accommodation Request
for Employees form, Plaintiff requested as an accommodation a “Patrol change to a day shift”
and in the narrative explanation stated, “Night shift causes my blood sugar levels to become
unstable and lead to complications for (sic) my diabetes. My endocrinologist has advised me
that working exclusively on a day shift would alleviate the possibility that my blood sugar levels
will become unbalanced and (sic) me to fully perform my duties without complications.” (Ex. H,
Pl. Dep. pp. 131-139, Ex. 8 thereto)

         Response.         Undisputed to the extent the cited exhibit is correctly quoted. Disputed to

the extent this “fact” includes the improper legal conclusion of an “accommodation.” Further

disputed as the cited testimony does not support the fact that the quoted language was the only

“accommodation” Plaintiff would accept.



2
  Plaintiff continues to object to each of Defendant’s headings as an improper attempt to editorialize and color the
factual allegations that follow. Plaintiff contests the factual implications and legal conclusion in this heading, which
is without citation to any record evidence.

                                                          15
  Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 16 of 22 PageID #:1117




       63.       On December 2, 2013 Plaintiff’s counsel, Ethan White (“White”), sent to
Sgambelluri a November 26, 2013 letter from Dr. Yohay which was written on behalf of Plaintiff
and stated that “It is my opinion, as her treating physician, with knowledge of her duties,
responsibilities, and conduct required of her as an Illinois State Trooper, than an assignment to a
day shift would allow her to fully, completely, and safely perform all of her Illinois State
Trooper patrol duties.” (Ex. H, Pl. Dep. pp. 139-142, Ex. 9 thereto, December 2, 2013 email
from White to Sgambelluri, Bates No. ISP004632)

       Response.       Disputed as neither the cited testimony nor exhibit include an email from

Plaintiff’s counsel.


         64.   Dr. Yohay was not aware of Plaintiff’s job requirements as a State Trooper in any
detail, but knew that Plaintiff was a State Trooper, that she carried a badge and assumed that she
regularly drove a vehicle for a prolonged period of time. (Ex. G, Dr. Yohay Dep. pp. 87-88, 92-
93, 99, 114, 132)

       Response.       Disputed to the extent the cited testimony is included out of context. In

full, Dr. Yohay testified that, when writing that Plaintiff’s diabetes “should not affect her job

performance,” the sentence meant “that her job performance was performed adequately before

the accident and not affected by her diabetes, and I expect her job performance to continue after

the accident not affected by the diabetes.” (Ex. G, Dr. Yohay Dep. pp. 88).


       65.     On December 3, 2013, Sgambelluri emailed a letter to Plaintiff informing her that
her request for a patrol change to day shift was in conflict with the request for a reassignment to
a non-sworn position. (Ex. H, Pl. Dep. pp. 144-146, Ex. 10 thereto)

       Response.       Undisputed.

        66.    On December 3, 2013 Plaintiff’s counsel, Ethan White, sent Sgambelluri an email
stating “Thanks for your letter. We respond that Kirincich is attempting to comply with the
interactive process, but confirms that she seeks the reasonable accommodation of an assignment
to a sworn position on the day shift, as supported by Dr. Yohay’s recommendation.” (Ex. H, Pl.
Dep. pp. 148-152, Ex. 12 thereto)

       Response.       Undisputed.


       67.    On December 9, 2013, Sgambelluri sent Plaintiff a letter via email stating “Your
request for reasonable accommodation is denied. The Department has determined that your

                                                 16
  Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 17 of 22 PageID #:1118




request will not reasonably accommodate you in such a manner as to ensure you are able to
perform the essential functions of a sworn officer. Through the interactive process and our
review of the events surrounding your traffic crash and your medical records, the Department has
determined that the only reasonable accommodation available to you is a vocational
reassignment to a code position. While you have not made a request to date, the Department
encourages you to continue to participate in the interactive process and pursue a vocational
reassignment to a civilian position.” (Ex. H, Pl. Dep. pp. 152-154, Exhibit 13 thereto)

       Response.       Undisputed.


        68.     On December 18, 2013 the MRB met again and discussed Plaintiff’s status.
During this meeting they discussed Dr. Yohay’s opinion that Plaintiff’s assignment to a day shift
would allow her to fully perform the essential functions of the position of State Trooper and
decided that a move only to day shift would not allow Plaintiff to safely and fully perform the
essential functions of a State Trooper. (Ex. F, Santos Dep. p. 22, Group Exhibit 1 thereto, Bates
No. ISP006662-ISP006663; Ex. C, Kindred-Johnson Dep. pp. 70-71)


       Response.       Disputed to the extent the cited exhibit does not establish the “decision,”

as state above. Rather, the exhibit only establishes that Plaintiff “was denied the reasonable

accommodation to the day shift as a Trooper.” Further, Kindred-Johnson’s cited testimony does

establishes nothing more than her rejection of Dr. Yohay’s medical opinion.


        69.     Effective January 9, 2014 and ending on February 17, 2015, Plaintiff worked full-
time in a restricted duty status while participating in the reasonable accommodation process. (Ex.
H, Pl. Dep. pp. 154-156, 227-228, 234-236 and Exs. 14 and 27 thereto)

       Response.       Disputed to the extent that the cited testimony and exhibits only establish

that Plaintiff received a letter from ISP, dated February 17, 2015, informing her of the fact that

she was to be placed on an administrative leave of absence.


        70.   On October 3, 2014, ISP invited Plaintiff to interview for a Guard II position with
ISP at the James R. Thompson Center in Chicago. Plaintiff attended this interview. (Ex. H, Pl.
Dep. pp. 162-164, Ex. 15 thereto)

       Response.       Disputed. Neither Plaintiff’s cited testimony nor exhibit establish that

Plaintiff was invited to interview for the Guard II position on October 3, 2014.

                                                 17
  Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 18 of 22 PageID #:1119




       71.     On December 4, 2014, ISP invited Plaintiff to interview for a Truck Weighing
Inspector position in Will County. Plaintiff attended this interview. (Ex. H, Pl. Dep. pp.165-
166, Ex. 16 thereto)

       Response.       Undisputed.


       72.     On December 18, 2014, ISP offered Plaintiff the Guard II position at a salary of
$4,137.00 per month and the Truck Weighing Inspector position at a salary of $4,913 per month.
(Ex. H, Pl. Dep. pp. 167-168, Ex. 17 thereto)

       Response.       Undisputed.


       73.     On December 26, 2014, Plaintiff sent ISP a letter accepting the Truck Weighing
Inspector position. (Ex. H, Pl. Dep. pp. 168-172, Ex. 18 thereto)


       Response.       Undisputed.


        74.   Sometime after December 26, 2014, ISP sent Plaintiff an ISP Officer Action
Request requiring that she resign her position as a Trooper with ISP in order to accept a position
as a Truck Weighing Inspector in Frankfurt, Illinois. (Ex. H, Pl. Dep. pp.190-192, Ex. 19
thereto)

       Response.       Undisputed.

       75.     On January 15, 2015 Plaintiff sent a letter to ISP indicating that she again elected
to accept the Truck Weighing Inspector position but that she was doing so under threat of
termination. (Ex. H, Pl. Dep. pp. 193-194, Ex. 20 thereto)

       Response.       Undisputed.


       76.     On January 15, 2015, Plaintiff sent ISP a completed ISP Officer Action Request,
where in Part D next to the words Departure-Type the word “resignation” was redacted. Also on
the January 31, 2015 Officer Action Request under Part D the box marked “Other” was checked.
Under the Comments section on the Officer Action Request, the Plaintiff redacted the word
“resigned” and replaced with “end her” and wrote “She is not resigning. The ISP will not
accommodate her requests under the ADA” (Ex. H, Pl .Dep. pp. 194-213, Ex. 21 thereto)

       Response.       Disputed. Plaintiff’s cited testimony and exhibit does not establish the

facts asserted above. The cited testimony and exhibits do not establish that Plaintiff sent ISP a



                                                18
  Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 19 of 22 PageID #:1120




completed ISP Officer Action Request on January 15, 2015. Further, Defendant incorrectly

states that the details of the January 15, 2015 ISP Officer Action Request. In the January 31,

2015 ISP Officer Action Request and (not the January 15, 2015 version), under Part D, the word

“resignation” was redacted and the box marked “Other” was checked. Plaintiff did not testify

she made those changes and instead indicated counsel made those changes.


        77.      On January 21, 2015, ISP sent Plaintiff a letter informing her that, despite her
alterations to the Officer Action Request, ISP acknowledged that she had resigned her position as
a sworn officer and accepted the Truck Weighing Inspector position and was expected to report
to work at said position on February 1, 2015. (Ex. H, Pl .Dep. pp. 213-218, Ex. 22 thereto)

       Response.      Disputed. Neither the cited testimony nor exhibit support the fact that ISP

“acknowledged” Plaintiff had resigned. Rather, the cited evidence only supports that ISP

claimed, in response to Plaintiff’s counsel’s changes to the January 31, 2015 ISP Officer Action

Request, that those change “do[] not alter the effect of the document.”



        78.    On January 27, 2015, ISP sent Plaintiff a letter inviting her to interview for a
position with ISP as a Criminal Intelligence Analyst in Tinley Park Illinois. Plaintiff accepted
the interview. (Ex. H, Pl. Dep. pp. 218-221, Ex. 23 thereto)

       Response.      Undisputed.


       79.      On February 9, 2015, ISP offered Plaintiff the position of Criminal Intelligence
Analyst at a salary of $5,740.00 per month. (Ex. H, Pl. Dep. pp. 221-223, Ex. 24 thereto)

       Response.      Undisputed.


        80.    On February 9, 2015 ISP sent Plaintiff a letter informing Plaintiff that ISP had
identified and offered three separate positions as a result of the Reasonable Accommodation
process and that if Plaintiff declined the Truck Weight Inspector position or the Criminal
Intelligence Analyst position, ISP would consider her withdrawn from the Reasonable
Accommodation process. (Ex. H, Pl. Dep. pp. 225-226, Ex. 26 thereto)

       Response.      Undisputed.

                                                19
  Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 20 of 22 PageID #:1121




       81.     Plaintiff did not report to work for the Truck Weighing Inspector position nor did
she report to work for the Criminal Intelligence Analyst position. (Ex. H, Pl. Dep. pp. 226-227)

         Response.    Undisputed.


        82.     On February 17, 2015, ISP sent Plaintiff a letter informing her that it considered
her withdrawn from the interactive Reasonable Accommodation process offered by ISP and also
informing her that she was being placed on administrative leave. (Ex. H, Pl. Dep. pp. 233-236,
Ex. 27 thereto)

         Response.    Undisputed.


       83.     Plaintiff is not aware of any other ISP Troopers who have diabetes and have been
involved in car while accidents on duty because of their hypoglycemia. (Ex. H, Pl. Dep. pp. 189-
190)
       Response.       Disputed. Plaintiff’s cited testimony does not establish the facts asserted

above.    Plaintiff’s cited testimony instead establishes that of the individuals that she had

identified in her deposition, none were involved in car accidents while on duty because of their

hypoglycemia. Plaintiff’s cited testimony does not support the broader proposition, above.


       84.     Dr. Yohay opined that one of the possible causes of Plaintiff’s February 28, 2013
motor vehicle accident was hypoglycemic unawareness. (Ex. G, Dr. Yohay Dep. p. 137-138)

         Response.    Disputed as Dr. Yohay only testified that “hypoglycemic unawareness”

was “one hypothesis,” not her opinion.



       85.    Dr. Yohay counseled Plaintiff to check her blood sugars before driving because
severe low blood sugar could result in Plaintiff getting into a car accident. (Ex. G, Dr. Yohay
Dep. pp. 68-69)

         Response.    Undisputed.


        86.    The ISP Sworn Salary Schedule effective July 1, 2012 provided that the monthly
salary for a 1-year Trooper was $4,809.00. (Ex. H, Pl. Dep. pp. 251-253, Exhibit 29 thereto,
Bates No. ISP0123)

                                               20
   Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 21 of 22 PageID #:1122




        Response.    Undisputed.


        87.    The ISP Sworn Salary Schedule effective July 1, 2013 provided that the monthly
salary for a 2-year Trooper was $5,139.00. (Ex. H, Pl. Dep. pp. 251-253, Exhibit 29 thereto,
Bates No. ISP0124)

        Response.    Undisputed.


        88.    The ISP Sworn Salary Schedule effective July 1, 2014 provided that the monthly
salary for a 3-year Trooper was $5,620.00. (Ex. H, Pl. Dep. pp. 251-253, Exhibit 29 thereto,
Bates No. ISP0125)

        Response.    Undisputed.



Date:   March 24, 2016                            RESPECTFULLY SUBMITTED,


                                                  By:    /s/ Michael I. Leonard
                                                         Counsel for Plaintiff

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                                             21
  Case: 1:15-cv-02131 Document #: 32 Filed: 03/24/16 Page 22 of 22 PageID #:1123




                                 CERTIFICATE OF SERVICE

       I, Michael I. Leonard, an attorney, hereby certify that the attached Plaintiff’s Response to

Defendant’s Statement of Undisputed Facts was served via the CM/ECF filing system on March

24, 2016 to all counsel of record.

                                     By:     /s/ Michael I. Leonard



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                                                22
